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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


  IN RE CATTLE ANTITRUST                          Case No. 19-cv-1222 (JRT/HB)
  LITIGATION

  This Document Relates to:                    ORDER REGARDING BRIEFING
  ALL CASES                                      ON MOTIONS TO DISMISS




      The parties filed a status report on June 28, 2019, in which they proposed

deadlines and word counts for briefing on Defendants’ anticipated motions to dismiss.

[See Doc. No. 87.] After conferring with Chief District Judge John R. Tunheim about the

proposed schedule and word count limits,

      IT IS HEREBY ORDERED that the following deadlines and limitations will

govern briefing for Defendants’ motions to dismiss:



Briefing Schedule:

    September 13, 2019 Defendants’ moving papers and supporting documentation due

    November 12, 2019      Plaintiffs’ responsive memoranda and supporting documentation
                           due

    December 12, 2019      Defendants’ reply memoranda and supporting documentation due


Word Count Limits:

   • Defendants may file a single joint motion to dismiss.
   • Defendants are permitted up to 27,000 words in total for their joint opening and
     reply briefs.
   • Plaintiffs are permitted up to 27,000 words for their joint response brief.
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   • Each moving Defendant is permitted up to 7,500 words in total for its individual
     opening and reply briefs.
   • Plaintiffs are permitted up to 7,500 words for their response to each Defendant’s
     individual opening brief.

      A hearing on the motions to dismiss in this case and in the case of Peterson v. JBS

USA Food Company Holdings, 19-cv-1129 (JRT/HB), will be held in front of the

Honorable John R. Tunheim, Chief Judge, United States District Court for the District of

Minnesota, on Monday, January 13, 2020, at 10:00 a.m. in Courtroom 15, United States

Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.



Dated: August 1, 2019

                                         s/Hildy Bowbeer
                                         HILDY BOWBEER
                                         United States Magistrate Judge
